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                         UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF WISCONSIN


EMCASCO Insurance Company,                            Civil File No: 3:22-CV-00443-WMC
                                                         Case Type: Declaratory Judgment
                       Plaintiff,

v.

Northern Metal Fab, Inc., and
                                                   STIPULATION OF DISMISSAL
Ellicott Dredges, LLC,

                       Defendants.


       The above-entitled action having been fully, finally and completely compromised

and settled between the parties,

       IT IS HEREBY STIPULATED AND AGREED by and between the parties

through their respective counsel that the same may be and hereby is dismissed with

prejudice on the merits and without costs and disbursements to any party, and that any

party hereto may forthwith and without notice to any other party, apply to the Court

pursuant to this Stipulation for an Order directing that judgment of dismissal with

prejudice be entered accordingly.




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